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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


DAMIAN BATEAST # 118348             )
              Plaintiff,            )
                                    )
vs.                                 )
                                    )                  Case No. 22-CV-03093-JWL
                                    )
                                    )
OLUWATOSIN S. ORUNSOLU, et al. )
                  Defendants.       )
___________________________________ )


               KANSAS DEPARTMENT OF CORRECTIONS MOTION TO
               FILE EXHIBIT TO THE MARTINEZ REPORT UNDER SEAL


       The Kansas Department of Corrections (KDOC), through counsel, pursuant to Local Rule

5.4.2, moves that Exhibits K and O to the Martinez Report be filed under seal. The exhibit contains

personal and confidential information regarding Plaintiff.

       For this reason, KDOC requests that this Court file Exhibits K and O to the Martinez Report

under seal, so that its contents are protected from public disclosure. This request is made for no

improper purpose, but rather is made in a good faith effort to maintain the confidentiality of the

information, and in respect for the privacy interests of the Plaintiff.
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                                       Respectfully submitted,
                                       /s Robert E. Wasinger
                                       Robert E. Wasinger, # 15352
                                       Legal Counsel
                                       Department of Corrections
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of March 2023, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
to the following:

Kansas Attorney General
120 SW 10th Ave., #2
Topeka, KS 66612

        I hereby certify that a true and correct copy of the foregoing was sent via intra facility mail
on this 14th day of March 2023 to:

Damian Migel Bateast #118348
LCF
P.O. Box 2
Lansing, KS 66043

                                       /s Robert E. Wasinger
                                       Robert E. Wasinger, SC #15352
